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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR15-0120-JCC
10                          Plaintiff,                  MINUTE ORDER
11            v.

12    NIEM DOAN,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the Government’s motion concerning a briefing
18   schedule for Defendant Niem Doan’s motion for compassionate release (Dkt. No. 1248) and the
19   parties’ stipulated motion to stay Defendant’s motion for compassionate release (Dkt. No. 1252).
20   Having thoroughly considered the motions and the relevant record, the Court hereby ORDERS
21   as follows:
22      1. The parties’ stipulated motion to stay (Dkt. No. 1252) is GRANTED.
23      2. Defendant’s motion for compassionate release (Dkt. No. 1245) is hereby STAYED.
24      3. The Clerk is DIRECTED to strike the Government’s motion concerning briefing
25          schedule (Dkt. No. 1248) as moot.
26      4. It is further ORDERED that after consulting with Defendant, Counsel will promptly


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 1         notify the Court and the Government whether an amended motion will be filed in this

 2         case. If no such motion is to be filed, the United States will have seven days from that

 3         notice in which to file its response to the pro se motion. If an amended motion is to be

 4         filed, the parties are to provide a proposed briefing schedule to the court.

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 6         DATED this 23rd day of September 2020.

 7                                                         William M. McCool
                                                           Clerk of Court
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 9                                                         s/Tomas Hernandez
                                                           Deputy Clerk
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